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                         Exhibit 2-V
           Evidence Packet in Support of Defendant’s Motions for Summary Judgment



              U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                                         Exhibit 2V
                                                         White Decl. ISO Disney's SJ Motion P.1519
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                                                                                               Exhibit 2V
                                                               White Decl. ISO Disney's SJ Motion P.1520
